           Case 8:23-bk-10571-SC Doc 2 Filed 03/20/23 Entered 03/20/23 16:29:38                                       Desc
                               Deficiency Ntc (Ch 11/12) Page 1 of 1
                                           United States Bankruptcy Court
                                            Central District of California
In re:                                                               CHAPTER NO.:   11
The Litigation Practice Group P.C.
                                                                     CASE NO.: 8:23−bk−10571−SC


                                  NOTICE OF CASE DEFICIENCY
                     UNDER 11 U.S.C. § 521(a)(1) AND BANKRUPTCY RULE 1007
To Debtor and Debtor's Attorney of Record,
Pursuant to F.R.B.P. 1007, you must file the following documents within 14 days from the date of the filing of your
petition. Your case may be dismissed if you fail to do so.
         Eq. Sec. Hold List

         Summary(Form 106Sum or 206Sum)

         Schd A/B(Form106A/B or 206A/B)

         Schedule C (Form 106C)

         Schedule D (Form 106D or 206D)

         Schd E/F(Form106E/F or 206E/F)

         Schedule G (Form 106G or 206G)

         Schedule H (Form 106H or 206H)

         Schedule I (Form 106I)

         Schedule J (Form 106J)

         Decl Re Sched (Form 106Dec)

         Decl for Non−Indiv (Form 202)

         StmtFinAffairs(Form107 or 207)

         Statement (Form 122B)

         Other (Specify):



The Revised Official Bankruptcy Forms are mandatory and are available at www.cacb.uscourts.gov/forms

According to Bankruptcy Rule 1007(c), within 14 days after you filed the petition, YOU MUST EITHER:

(1)       File the required documents. If the document is filed electronically, no hard copy need to be submitted to the court.
          (See Local Bankruptcy Rule 5005−2(d) and Court Manual, Appendix "F" as to whether a copy must be served on the
          judge.)
OR
(2)       File and serve a motion for an order extending the time to file the required document(s).

IF YOU DO NOT COMPLY, in a timely manner with either of the above alternatives, your case may be the subject of an order to
show cause to dismiss the case. Motion for extension of time to file schedules and other papers shall comply with Local
Bankruptcy Rule 1007−1, and shall be supported by admissible evidence demonstrating cause for the requested extension.

Dated: March 20, 2023                                                          For the Court
                                                                               Kathleen J. Campbell
                                                                               Clerk of Court

Form mdef − Rev 01/2018                                                                                                   2 − 1 / TS
